Case 3:14-cv-00767-SCW Document 211 Filed 09/13/18 Page 1 of 2 Page ID #1826

                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF ILLINOIS

WILLIAM CAMPLIN,                                )
                                                )
                      Plaintiff,                )
                                                )
                                                )
                     vs.                        )       CASE NO.    14-767-SCW
                                                )
WEXFORD INSTITUTIONAL, CHRISTINE                )
BROWN, DENNIS ELS, OD ALLAN J.                  )
BRUMMEL, JOHN BALDWIN, and                      )
ILLINOIS DEPARTMENT OF                          )
CORRECTIONS,

                      Defendant(s).

                                   JUDGMENT IN A CIVIL CASE

       Defendant OD Allan J. Brummel was dismissed without prejudice on July 26, 2016

by a Notice of Dismissal filed by Plaintiff William Camplin (Doc. 105.)

       Defendant Christine Brown was granted summary judgment on March 17, 2017 by

an Order entered by Chief Judge Michael J. Reagan (Doc. 149).

       The remaining case is dismissed with prejudice and without costs in accordance

with an Order entered by Magistrate Judge Stephen C. Williams on November 20, 2017

(Doc. 210).

       THEREFORE, judgment is entered in favor of Defendants          Christine Brown and

Allan J. Brummel and against Plaintiff William Camplin.

       The Plaintiff should take notice of the fact that he has 28 days from the date of this

judgment for filing a motion for new trial or motion to amend or alter judgment under Rule

59(b) or (e) of the Federal Rules of Civil Procedure.    These deadlines for motions under

Rule 59 cannot be extended by the Court.      The Plaintiff should also note that he has 30

days from the date of this judgment to file a notice of appeal.    This period can only be
Case 3:14-cv-00767-SCW Document 211 Filed 09/13/18 Page 2 of 2 Page ID #1827

extended if excusable neglect or good cause is shown.

      DATED this 13nd day of September, 2018

                                         THOMAS L. GALBRAITH, ACTING CLERK

                                         BY: /s/ Angela Vehlewald
                                                Deputy Clerk

Approved by     /s/ Stephen C. Williams
              United States Magistrate Judge
                     Stephen C. Williams
